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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO


  In re:
                                                 Bankruptcy Case No. 24-14157 KHT
  Clayton Good,
                                                 Chapter 13
  Debtor.


                  ORDER REGARDING COMPLIANCE WITH RULES

       THIS MATTER comes before the Court on a document filed August 15, 2024, by
Debtor pro se. The document appears to be a notice of a continued 341(a) Meeting of
Creditors. A review of the document indicates that Debtor has not complied with
applicable provisions of the Federal Rules of Bankruptcy Procedure or the Local Rules of
this Court, specifically, L.B.R. 2003. It states:

       A debtor’s request for a continuance of the meeting of creditors must be in writing
       and served on the appropriate trustee no less than seven (7) days prior to the date
       and time of the scheduled meeting. A request for a continuance is not filed with
       the Court. If a trustee consents to the continuance, the debtor shall immediately
       file a notice of continued meeting with the Court, serve a copy of the notice on the
       trustee and all creditors and parties in interest, and file a certificate of service with
       the court evidencing same. [Emphasis added]

       IT IS THEREFORE ORDERED that Debtor shall comply with this Order and the
above-noted rule by August 21, 2014, and contact the Chapter 13 Trustee at (303) 830-
1971 to reschedule the meeting of creditors. If the Chapter 13 Trustee consents to the
continuance, Debtor shall file with the court a notice of continued hearing and a Certificate
of Service by August 23, 2024. For Debtor’s convenience, the Court’s creditor mailing
matrix for this case is attached to this order and Debtor may use this list when mailing
out the notice.


       DATED this 16th day of August, 2024

                                                   BY THE COURT:

                                                   __________________________
                                                   Kimberley H. Tyson
                                                   United States Bankruptcy Judge
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Label Matrix for local noticing                     American Express National Bank                       Bella Holsteins
1082-1                                              c/o Becket and Lee LLP                               RE: XXX XXX 0000
Case 24-14157-KHT                                   PO Box 3001                                          13278 CR 32
District of Colorado                                Malvern PA 19355-0701                                Platteville, CO 80651-8100
Denver
Fri Aug 16 13:15:08 MDT 2024
Bellco Credit Union                                 Citibank N.A.                                        Colorado Credit Union
RE: XXX XXX 0052                                    Citibank, N.A.                                       RE: XXX XXX 2003
po box 2062                                         5800 S Corporate Pl                                  10026 w san juan
Glen Burnie, MD 21060-2062                          Sioux Falls, SD 57108-5027                           littleton, CO 80127-6345


Darby Davis                                         Diversified Financial                                Firstier Bank
RE: XXX XXX 0000                                    RE: XXX XXX 2003                                     RE: XXX XXX 9365
PO Box 123                                          14010 FNB Pkwy Ste. 400                              6222 w 9th
brush, CO 80723-0123                                Omaha, CO 68154-5232                                 greeley, CO 80634-4479


Ford Motor Credit Company                           Ford Motor Credit Company, LLC                       Freedom Mortgage
RE: XXX XXX 0000                                    AIS Portfolio Services, LLC                          RE: XXX XXX 0639
PO 650575                                           4515 N Santa Fe Ave. Dept. APS                       951 Yamato Rd
Dallas, TX 75265-0575                               Oklahoma City, OK 73118-7901                         Boca Raton, FL 33431-4439


Gayln Einspahr                                      Clayton Good                                         Adam M Goodman
RE: XXX XXX 0000                                    25498 CR 66                                          Chapter 13 Trustee
24268 Hwy 385                                       Greeley, CO 80631-9615                               P.O. Box 1169
holyoke, CO 80734-9701                                                                                   Denver, CO 80201-1169


JPMorgan Chase Bank, N.A.                           (p)DEERE CREDIT SERVICES INC                         North Weld County Water District
s/b/m/t Chase Bank USA, N.A.                        ATTN LITIGATION & RECOVERY DEPARTMENT                RE: XXX XXX 2684
c/o National Bankruptcy Services, LLC               PO BOX 6600                                          32825 CR 39
P.O. Box 9013                                       JOHNSTON IA 50131-6600                               lucerne, CO 80646
Addison, Texas 75001-9013

US Trustee                                          Wells Fargo Bank                                     Michael J Whaley
Byron G. Rogers Federal Building                    Small Business Lending Division                      Cline Williams Law Firm
1961 Stout St.                                      P.O. Box 29482 MAC S4101-08C                         12910 Pierce Street
Ste. 12-200                                         Phoenix, AZ 85038-9482                               Suite 200
Denver, CO 80294-6004                                                                                    Omaha, NE 68144-1106



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


John Deere Financial
RE: XXX XXX 0000
PO Box 6600
Johnston, IA 50131




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
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(u)DFS Finance, a division of First National   End of Label Matrix
                                               Mailable recipients   20
                                               Bypassed recipients    1
                                               Total                 21
